Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 1 of 25 - Page ID#: 362




                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                CENTRAL DIVISION
                                   LEXINGTON

  UNITED STATES OF AMERICA


  V.                        SUPERSEDING INDICTMENT NO. 5:22-CR-00004-DCR


  ERICA BAKER and
  RONALD COBURN                                                    Eastern Dislrlc! of Kentucky

                                          * * * * *                       FEB t 6 2023
                                                                           AT LEXINGTON
  THE GRAND JURY CHARGES:                                                  Robert Ft Carr
                                                                    CLER!< U.S. DISTRICT COURT

  At all times relevant to this Indictment:

                   BACKGROUND ON MEDICARE AND MEDICAID

         1.     The Medicare Program ("Medicare") was a federal "health care benefit

  program," as defined by 18 U.S.C. § 24(b), that provided benefits to persons who were

  over the age of sixly-five or disabled. Medicare was administered by the United States

  Department of Health and Human Services ("HHS") through its agency, the Centers for

  Medicare & Medicaid Services ("CMS").

         2.     Individuals who qualified for Medicare benefits were commonly referred to

  as "beneficiaries," and as beneficiaries, they were eligible to receive a variely of goods and

  services.

         3.     The Kentucky Medicaid Program ("Medicaid") was a "health care benefit

  program," as defined by 18 U.S.C. § 24(b), that provided benefits to Kentucky residents

  who met certain eligibilily requirements, including income requirements. Medicaid was
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 2 of 25 - Page ID#: 363




  jointly funded by federal and state sources and administered by CMS and by the Kentucky

  Cabinet for Health and Family Services, Department for Medicaid Services ("DMS"),

  located in Franklin County, Kentucky.

         4.     Individuals who qualified for Medicaid benefits were commonly refen-ed to

  as "members," and as members, they were eligible to receive a variety of goods and

  services.

         5.     Among a variety of items and services, both Medicare and Medicaid

  provided coverage to beneficiaries and members for certain laboratory services, including

  urine drug testing.

         6.     Medical service providers, including diagnostic testing laboratories meeting

  certain criteria, could enroll in and obtain Medicare and Medicaid provider numbers. Upon

  Medicare and Medicaid enrollment, service providers were pennitted to provide medical

  services and items to beneficiaries and members, and subsequently submit claims, either

  electronically or in hardcopy, to Medicare and Medicaid, through fiscal intermediaries,

  seeking reimbursement for the cost of services and items provided.

         7.     When seeking reimbursement from Medicare and Medicaid, service

  providers certified that: (1) the contents of the claim forms were true, conect, and complete;

  (2) the claim fonns were prepared in compliance with the laws and regulations governing

  Medicare and Medicaid; and (3) the services purportedly provided, as set forth in the claim

  fonns, were medically necessary.

         8.     Medicare and Medicaid reimbursed claims submitted by service providers if

  the services and items provided were medically necessary for the diagnoses and treatment
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 3 of 25 - Page ID#: 364




  of beneficiaries and members. Conversely, Medicare and Medicaid did not cover and

  would not reimburse claims for services and items that were not medically necessary.

         9.     Medicaid regulations provided that a service, including urine drug testing,

  was medically necessary if, inter alia, it was (a) based on an individualized assessment of

  the recipient's medical needs; (b) reasonable and required to identify, diagnose, or treat a

  disease, illness, or other medical condition; (c) appropriate in terms of the service, amount,

  scope, and duration based on generally accepted standards of good medical practice; and

  (d) provided for medical reasons rather than primarily for the convenience of the

  individual, the individual's caregiver, or the health care provider. See 907 KAR 3:130,

  Section 2.

         10.    Medicaid regulations prohibited reimbursement for laboratory services,

  including urine drug testing, that were ordered by a court. See 907 KAR I :028, Section 3.

         11.    DMS contracted with managed care organizations ("MCOs") to administer

  the Medicaid program in Kentucky, and health care providers must have been

  credentialed with those MCOs in order to receive reimbursement for the services

  provided. The MCOs imposed additional coverage requirements prior to reimbursing for

  urine drug testing. For example, Humana-Caresource's Medicaid reimbursement policy

  stated that urine drug testing performed pursuant to "blanket orders" or "standing orders"

  would not be reimbursed, nor would urine drug testing performed as a program

  requirement to live in a residential facility or sober center. Passport Health Plan's

  guidance stated that "[s]tanding orders for specific test panels across members, 'routine

  panels' or 'custom panels' do not meet medical necessity criteria as they are not
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 4 of 25 - Page ID#: 365




  individualized to members' specific medical needs." Aetna Better Health of Kentucky's

  guidance similarly described standing orders for large drug test panels as "medically

  inappropriate drug testing."

         12.    Similarly, Medicare only paid for services that are reasonable and necessary

  for the diagnosis or treatment of illness or injury. See 42 U.S.C. § 1395y(a)(l)(A). In the

  context of diagnostic testing, including urine drug testing, the relevant regulations stated

  that "[a]11 ... diagnostic laboratory tests ... must be ordered by the physician who is

  treating the beneficiary, that is, the physician who furnishes a consultation or treats a

  beneficiary for a specific medical problem and who uses the results in the management of

  the beneficiary's specific medical problem. Tests not ordered by the physician who is

  treating the beneficimy are not reasonable and necessary." 42 C.F.R. § 410.32(a). Further,

  Medicare did not pay for urine drug testing conducted pursuant to blanket orders, that is, a

  test request that was not for a specific patient, but rather was an identical order for all

  patients in a clinician's practice without individualized decision making at every visit. See

  Local Coverage Determination L36029.

                       DEFENDANTS AND RELEVANT ENTITIES

         13.    LabTox, LLC ("LabTox") was a diagnostic testing laboratory that performed

  urine drug testing. LabTox was located in Fayette County, Kentucky, in the Eastern

  District of Kentucky, and was enrolled as a medical provider with the Medicare and

  Medicaid programs.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 5 of 25 - Page ID#: 366




             14.   RONALD COBURN was a resident of Fayette County, in the Eastern

  District of Kentucky. COBURN was the Chief Executive Officer of LabTox and the

  company's de facto owner.

             15.   ERICA BAKER was a resident of Jessamine County, in the Eastern District

  of Kentucky, and an employee ofLabTox. BAKER's roles at LabTox included, at various

  times, account executive, operations supervisor, director of operations, and compliance

  officer.

         16.       LabTox solicited urine drug testing referrals from facilities that offered non-

  medical addiction recovery services, utilizing peer-to-peer or faith-based recovery models.

  These facilities included, but were not limited to, Friends of Sinners, Hope House,

  Andrea's Mission, Shepherd's Shelter Ross Rehab, Owensboro Regional Recovery,

  Lighthouse Recovery Services, Liberty Place, St. Benedict's Homeless Shelter, One Bridge

  to Hope, and The Way Home, and are referred to herein as the "Non-Medical Recovery

  Programs."

                        THE DEFENDANTS' SCHEME TO DEFRAUD

         17.       The Non-Medical Recovery Programs utilized urine drug testing for their

  clients for non-medical reasons. Such reasons included, for example, ensuring sobriety,

  which was often a condition of participation or residency in the Non-Medical Recovery

  Programs, promoting client accountability, and complying with contractual agreements

  between the Non-Medical Recovery Programs and the Kentucky Department of

  Corrections. The urine drug testing at the Non-Medical Recovery Programs was not

  performed for purposes of medical diagnosis and treatment.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 6 of 25 - Page ID#: 367




         18.    ERICA BAKER and RONALD COBURN knew that the urine drug testing

  at the Non-Medical Recovery Programs was not perfo1med for purposes of medical

  diagnosis and treatment.

         19.    At RONALD COBURN'S direction, ERICA BAKER solicited the referral

  of urine drug testing from the Non-Medical Recovery Programs to LabTox.

         20.    ERICA BAKER advised the Non-Medical Recovery Programs that in order

  for LabTox to bill Medicare, Medicaid, and other health care benefit programs for the urine

  drug testing refetTed by the Non-Medical Recovery Programs, LabTox needed a blanket

  order signed periodically, usually once per quarter, by a physician or nurse practitioner.

  Likewise, RONALD COBURN knew that LabTox was utilizing periodic blanket orders

  purporting to authorize the urine drug testing referred by the Non-Medical Recovery

  Programs.

         21.    ERICA BAKER and RONALD COBURN knew that Medicare, Medicaid,

  and other health care benefit programs did not knowingly pay for urine drug testing

  performed pursuant to blanket orders.

         22.    ERICA BAKER directed the Non-Medical Recovery Programs on how to

  complete the blanket order form, including the tests to be ordered. Pursuant to BAKER'S

  direction, the same "Customized High Complexity LC/MS-MS" test was performed on all

  client urine samples refetTed to LabTox by the Non-Medical Recovery Programs.

         23.    ERICA BAKER and RONALD COBURN knew that the physicians and

  nurse practitioners who signed the blanket order forms were not treating the clients of the

  Non-Medical Recove1y Programs for addiction.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 7 of 25 - Page ID#: 368




         24.    At ERICA BAKER'S and RONALD COBURN'S direction, the urine drug

  tests referred by the Non-Medical Recovery Programs were billed to Medicare, Medicaid,

  and other health care benefit programs, even though BAKER and COBURN !mew that

  such testing was not performed for purposes of medical diagnosis and treatment and was

  therefore medically unnecessary.

                                        COUNT 1
                         Conspiracy to Commit Health Care Fraud
                                    (18 u.s.c. § 1349)

         25.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

  incorporated by reference as though fully set forth herein.

         26.    From on or about an exact date unlmown, but at least January 1, 2019,

  through on or about January 31, 2021, in Fayette County in the Eastern District of

  Kentucky, and elsewhere,

                                     ERICA BAKER and
                                     RONALD COBURN

  did knowingly and willfully, with the intent to further the objects of the conspiracy,

  combine, conspire, confederate and agree with each other to commit the crime of health

  care fraud, that is, to knowingly and willfully execute a scheme and artifice to defraud

  health care benefit programs affecting commerce, as defined by Title 18, United States

  Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit programs,

  and to obtain money and property owned by, and under the custody of Medicare,

  Medicaid, and other health care benefit programs, in connection with the delivery of and
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 8 of 25 - Page ID#: 369




  payment for health care benefits, items, and services, by means of false and fraudulent

  pretenses, in violation of Title 18, United States Code, Section 134 7.

         27.    It was a purpose of the conspiracy for the Defendants to unlawfully enrich

  themselves and LabTox by causing the submission of false and fraudulent claims to

  Medicare, Medicaid, and other health care benefit programs for urine drug testing

  services referred from Non-Medical Recovery Programs that were medically unnecessary

  and ineligible for reimbursement.

         28.    The manner and means by which the Defendants sought to accomplish the

  purpose of the conspiracy included, among others, the conduct set forth in Paragraphs 17

  through 24 of this Indictment.

         All in violation of Title 18, United States Code, Section 1349.

                                          COUNT2
                                      Health Care Fraud
                                      (18 u.s.c. § 1347)

         29.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

  incorporated by reference as though fully set forth herein.

         30.    Friends of Sinners operated a Non-Medical Recovery Program in Daviess

  County, Kentucky. Friends of Sinners referred urine drug testing to LabTox but did not

  use the urine drug test results for medical purposes.

         31.    K.A. was an advanced practice nurse (APRN) at a clinic in Warren County,

  Kentucky. K.A. did not treat clients of Friends of Sinners for drug addiction or for any

  other purpose. K.A. did not review the results of the urine drug testing performed by

  LabTox for Friends of Sinners.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 9 of 25 - Page ID#: 370




          32.    From in or around an exact date unknown, but at least January 1, 2019,

  through in or around October 2019, in Fayette County, in the Eastern District of

  Kentucky, and elsewhere,

                                       ERICA BAKER

  knowingly and willfully executed, and attempted to execute, a scheme and artifice to

  defraud health care benefit programs affecting commerce, as defined by Title 18, United

  States Code, Section 24(b), that is, Medicare, Medicaid, and other health care benefit

  programs, and to obtain money and property owned by, and under the custody of

  Medicare, Medicaid, and other health care benefit programs, in connection with the

  delivery of and payment for health care benefits, items, and services, by means of false

  and fraudulent pretenses. Specifically, BAKER caused claims for payment to be

  submitted for medically unnecessary urine drug testing referred by Friends of Sinners,

  under cover of a blanket order signed periodically by K.A., and performed at LabTox,

  LLC.

         All in violation of Title 18, United States Code, Section 134 7.

                                          COUNT3
                                      Health Care Fraud
                                      (18 u.s.c. § 1347)

         33.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

  incorporated by reference as though fully set forth herein.

         34.    The Hope House operated a Non-Medical Recovery Program in Warren

  County, Kentucky. The Hope House referred urine drug testing to LabTox but did not

  use the urine drug test results for medical purposes.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 10 of 25 - Page ID#: 371




          35.    K.A. was an APRN at a clinic in Warren County, Kentucky. K.A. did not

   treat clients of The Hope House for drug addiction or for any other purpose. K.A. did not

   review the results of the urine drug testing performed by LabTox for The Hope House.

          36.    From in or around an exact date unlmown, but at least January 1, 2019,

   through at least April 2020, in Fayette County, in the Eastern District of Kentucky, and

   elsewhere,

                                        ERICABAKER

   knowingly and willfully executed, and attempted to execute, a scheme and artifice to

   defraud health care benefit programs affecting commerce, as defined by Title 18, United

   States Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit

   programs, and to obtain money and property owned by, and under the custody of

   Medicare, Medicaid, and other health care benefit programs, in connection with the

   delivery of and payment for health care benefits, items, and services, by means of false

   and fraudulent pretenses. Specifically, BAKER caused claims for payment to be

   submitted for medically unnecessary urine drug testing referred by The Hope House,

   under cover of a blanket order signed periodically by K.A., and perfonned at LabTox,

   LLC.

          All in violation of Title 18, United States Code, Section 1347.

                                          COUNT4
                                      Health Care Fraud
                                      (18 u.s.c. § 1347)

          37.   Paragraphs 1 through 24 of this Superseding Indictment are realleged and

  incorporated by reference as though fully set forth herein.
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           Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 11 of 25 - Page ID#: 372




                       38.    Andrea's Mission operated a Non-Medical Recovery Program in Butler

                County, Kentucky. Andrea's Mission referred urine drug testing to LabTox but did not

                use the urine drug test results for medical purposes.

                       39.    D.C. was an APRN at a clinic in Butler County, Kentucky. D.C. did not

                treat clients of Andrea's Mission for drug addiction. D.C. did not review the results of

                the urine drug testing performed by LabTox for Andrea's Mission.

                       40.    From in or around an exact date unknown, but at least January I, 2019,

                through in or around May 2019, in Fayette County, in the Eastern District of Kentucky,

                and elsewhere,

                                                  ERICA BAKER and
                                                  RONALD COBURN

                knowingly and willfully executed, and attempted to execute, a scheme and artifice to

                defraud health care benefit programs affecting c01mnerce, as defined by Title 18, United

                States Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit

                programs, and to obtain money and property owned by, and under the custody of

                Medicare, Medicaid, and other health care benefit programs, in connection with the

                delivery of and payment for health care benefits, items, and services, by means of false

                and fraudulent pretenses. Specifically, BAKER and COBURN, aided and abetted by

                one another, caused claims for payment to be submitted for medically unnecessary urine

                drug testing referred by Andrea's Mission, under cover of a blanket order signed

                periodically by D.C., and perfonned at LabTox, LLC.

                      All in violation of Title 18, United States Code, Section 1347.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 12 of 25 - Page ID#: 373




                                           COUNTS
                                       Health Care Fraud
                                       (18 u.s.c. § 1347)

          41.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

   incorporated by reference as though fully set forth herein.

          42.    Shepherd's Shelter Ross Rehab operated a Non-Medical Recovery Program

   in Montgomery County, Kentucky. Shepherd's Shelter Ross Rehab referred urine drug

   testing to LabTox but did not use the urine drug test results for medical purposes.

          43.    B.P. was a nurse practitioner at a clinic in Montgomery County, Kentucky.

   B.P. did not treat clients of Shepherd's Shelter Ross Rehab for drug addiction. B.P. did

   not review the results of the urine drug testing performed by LabTox for Shepherd's

   Shelter Ross Rehab.

          44.    From in or around an exact date unknown, but at least January 1, 2019,

   through in or around September 2019, in Fayette County, in the Eastern District of

   Kentucky, and elsewhere,

                                     ERICA BAKER and
                                     RONALD COBURN

   lmowingly and willfully executed, and attempted to execute, a scheme and a1tifice to

   defraud health care benefit programs affecting commerce, as defined by Title 18, United

   States Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit

   programs, and to obtain money and property owned by, and under the custody of

  Medicare, Medicaid, and other health care benefit programs, in connection with the

   delivery of and payment for health care benefits, items, and services, by means of false
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 13 of 25 - Page ID#: 374




   and fraudulent pretenses. Specifically, BAKER and COBURN, aided and abetted by

   one another, caused claims for payment to be submitted for medically unnecessary urine

   drug testing referred by Shepherd's Shelter Ross Rehab, under cover of a blanket order

   signed periodically by B.P., and performed at LabTox, LLC.

          All in violation of Title 18, United States Code, Section 1347.

                                          COUNT6
                                      Health Care Fraud
                                      (18 u.s.c. § 1347)

          45.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

   incorporated by reference as though fully set forth herein.
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          46.    Owensboro Regional Recovery operated a Non-Medical Recovery Program

   in Daviess County, Kentucky. Owensboro Regional Recovery referred urine drug testing

   to LabTox but did not use the urine drug test results for medical purposes.

          47.    B.E. was a semi-retired physician in Daviess County, Kentucky. B.E. did

   not treat clients of Owensboro Regional Recovery for drug addiction or for any other

   purpose. B.E. did not review the results of the urine drug testing perfotmed by LabTox

   for Owensboro Regional Recovery.

         48.    R.M. was a nurse practitioner at a clinic in Daviess County, Kentucky.

   R.M. did not treat clients of Owensboro Regional Recovery for drug addiction. R.M. did

   not review the results of the urine drug testing performed by LabTox for Owensboro

   Regional Recovery.
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          Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 14 of 25 - Page ID#: 375




                    49.    From in or around an exact date unknown, but at least January 1, 2019,

             through in or around October 2019, in Fayette County, in the Eastern District of

             Kentucky, and elsewhere,

                                                ERICA BAKER and
                                                RONALD COBURN

             knowingly and willfully executed, and attempted to execute, a scheme and artifice to

             defraud health care benefit programs affecting commerce, as defined by Title 18, United

             States Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit

             programs, and to obtain money and property owned by, and under the custody of

             Medicare, Medicaid, and other health care benefit programs, in connection with the

             delivery of and payment for health care benefits, items, and services, by means of false

             and fraudulent pretenses. Specifically, BAKER and COBURN, aided and abetted by

             one another, caused claims for payment to be submitted for medically unnecessary urine

             drug testing referred by Owensboro Regional Recovery, under cover of blanket orders

             signed periodically by B.E. and R.M., and performed at LabTox, LLC.

                    All in violation of Title 18, United States Code, Section 1347.

                                                    COUNT7
                                                Health Care Fraud
                                                (18 u.s.c. § 1347)

                    50.    Paragraph 1 through 24 of this Superseding Indictment are realleged and

             incorporated by reference as though fully set forth herein.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 15 of 25 - Page ID#: 376




          51.    Lighthouse Recovery Services operated a Non-Medical Recovery Program

   in Daviess County, Kentucky. Lighthouse Recovery Services referred urine drug testing

   to LabTox but did not use the urine drug test results for medical purposes.

          52.    B.E. was a semi-retired physician in Daviess County, Kentucky. B.E. did

   not treat clients of Lighthouse Recovery Services for drug addiction or for any other

   purpose. B.E. did not review the results of the urine drug testing performed by LabTox

   for Lighthouse Recovery Services.

          53.    R. M. was a nurse practitioner at a clinic in Daviess County, Kentucky.

   R.M. did not treat clients of Lighthouse Recovery Services for drug addiction. R.M. did

   not review the results of the urine drug testing performed by LabTox for Lighthouse

   Recovery Services.

          54.    At ERICA BAKER'S direction, LabTox employed the director of

   Lighthouse Recovery Services as a urine collector.

          55.    From in or around an exact date unknown, but at least January l, 2019,

   through in or around June 2020, in Fayette County, in the Eastern District of Kentucky,

   and elsewhere,

                                        ERICA BAKER

   knowingly and willfully executed, and attempted to execute, a scheme and artifice to

   defraud health care benefit programs affecting commerce, as defined by Title 18, United

   States Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit

  programs, and to obtain money and property owned by, and under the custody of

  Medicare, Medicaid, and other health care benefit programs, in connection with the
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 16 of 25 - Page ID#: 377




   delivery of and payment for health care benefits, items, and services, by means of false

   and fraudulent pretenses. Specifically, BAKER caused claims for payment to be

   submitted for medically unnecessary urine drug testing referred by Lighthouse Recovery

   Services, under cover of blanket orders signed periodically by B.E. and R.M., and

   performed at LabTox, LLC.

          All in violation of Title 18, United States Code, Section 1347.

                                           COUNTS
                                       Health Care Fraud
                                       (18 u.s.c. § 1347)

          56.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

   incorporated by reference as though fully set forth herein.

          57.    Liberty Place operated a Non-Medical Recovery Program in Madison

   County, Kentucky. Liberty Place referred urine drug testing to Lab Tox but did not use

   the urine drug test results for medical purposes.

          58.    L.F. was a physician practicing at a clinic in Powell County, Kentucky.

   M.K. was an APRN at the same clinic in Powell County, Kentucky. L.F. and M.K. did

   not treat clients of Liberty Place for drug addiction. L.F. and M.K. did not review the

   results of the urine drug testing performed by LabTox for Liberty Place.

          59.    From in or around an exact date unknown, but at least Janua1y 1, 2019,

   through in or around September 2020, in Fayette County, in the Eastern District of

  Kentucky, and elsewhere,
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 17 of 25 - Page ID#: 378




                                         ERICA BAKER

   knowingly and willfully executed, and attempted to execute, a scheme and artifice to

   defraud health care benefit programs affecting commerce, as defined by Title 18, United

   States Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit

   programs, and to obtain money and property owned by, and under the custody of

   Medicare, Medicaid, and other health care benefit programs, in connection with the

   delivery of and payment for health care benefits, items, and services, by means of false

   and fraudulent pretenses. Specifically, BAKER caused claims for payment to be

   submitted for medically unnecessary urine drug testing refetTed by Liberty Place, under

   cover of blanket orders signed periodically by L.F. and M.K., and perfonned at LabTox,

   LLC.

          All in violation of Title 18, United States Code, Section 1347.

                                           COUNT9
                                       Health Care Fraud
                                       (18 u.s.c. § 1347)

          60.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

   incorporated by reference as though fully set forth herein.

          61.    St. Benedict's Homeless Shelter operated a Non-Medical Recovery

   Program in Daviess County, Kentucky. St. Benedict's Homeless Shelter referred urine

   drug testing to LabTox but did not use the urine drug test results for medical purposes.

          62.    J.L. was a physician in Daviess County, Kentucky. J.L served on the board

   of directors for St. Benedict's Homeless Shelter, but J.L. did not treat clients of Liberty
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 18 of 25 - Page ID#: 379




   Place for drug addiction or for any other purpose. J.L. did not review the results of the

   urine drug testing performed by LabTox for St. Benedict's Homeless Shelter.

          63.    From in or around an exact date unknown, but at least January 1, 2019,

   through in or around October 2019, in Fayette County, in the Eastern District of

   Kentucky, and elsewhere,

                                      ERICA BAKER and
                                      RONALD COBURN

   knowingly and willfully executed, and attempted to execute, a scheme and artifice to

   defraud health care benefit programs affecting commerce, as defined by Title 18, United

   States Code, Section 24(b), that is, Medicare, Medicaid, and other health care benefit

   programs, and to obtain money and property owned by, and under the custody of

   Medicare, Medicaid, and other health care benefit programs, in connection with the

   delivery of and payment for health care benefits, items, and services, by means of false

   and fraudulent pretenses. Specifically, BAKER and COBURN, aided and abetted by

   one another, caused claims for payment to be submitted for medically unnecessary urine

   drug testing referred by St. Benedict's Homeless Shelter, under cover of blanket orders

   signed periodically by J.L., and performed at LabTox, LLC.

          All in violation of Title 18, United States Code, Section 1347.

                                          COUNT 10
                                      Health Care Fraud
                                      (18 u.s.c. § 1347)

          64.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

   incorporated by reference as though fully set forth herein.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 19 of 25 - Page ID#: 380




          65.    One Bridge to Hope operated a Non-Medical Recovery Program in

   Washington County, Kentucky. One Bridge to Hope referred urine drug testing to

   LabTox but did not use the urine drug test results for medical purposes.

          66.    K.M. was an APRN practicing in Taylor County, Kentucky. K.M. did not

   treat clients of One Bridge to Hope for drug addiction. K.M. did not review the results of

   the urine drug testing performed by LabTox for One Bridge to Hope.

          67.    From in or around an exact date unknown, but at least July 2019, through in

   or around September 2020, in Fayette County, in the Eastern District of Kentucky, and

   elsewhere,

                                        ERICA BAKER

   knowingly and willfully executed, and attempted to execute, a scheme and artifice to

   defraud health care benefit programs affecting commerce, as defined by Title 18, United

   States Code, Section 24(b), that is, Medicare, Medicaid, and other health care benefit

   programs, and to obtain money and property owned by, and under the custody of

   Medicare, Medicaid, and other health care benefit programs, in connection with the

   delivery of and payment for health care benefits, items, and services, by means of false

   and fraudulent pretenses. Specifically, BAKER caused claims for payment to be

   submitted for medically unnecessary urine drug testing referred by One Bridge to Hope,

   under cover of blanket orders signed periodically by K.M., and performed at LabTox,

   LLC.

          All in violation of Title 18, United States Code, Section 1347.
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 20 of 25 - Page ID#: 381




                                          COUNT 11
                                       Health Care Fraud
                                       (18 u.s.c. § 1347)

          68.    Paragraphs 1 through 24 of this Superseding Indictment are realleged and

   incorporated by reference as though fully set forth herein.

          69.    The Way Home operated a Non-Medical Recovery Program in Washington

   County, Kentucky. The Way Home referred urine drug testing to LabTox but did not use

   the urine drug test results for medical purposes.

          70.    T.M. was anAPRN practicing in Fayette County, Kentucky, and the wife

   of the director of The Way Home. T.M. did not treat clients of The Way Home for drug

   addiction or for any other purpose. T.M. did not review the results of the urine drug

   testing performed by LabTox for The Way Home.

          71.    From in or around an exact date unknown, but at least January 1, 2019,

   through in or around July 2019, in Fayette County, in the Eastern District of Kentucky,

   and elsewhere,

                                        ERICA BAKER

   knowingly and willfully executed, and attempted to execute, a scheme and artifice to

   defraud health care benefit programs affecting commerce, as defined by Title 18, United

   States Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit

   programs, and to obtain money and property owned by, and under the custody of

   Medicare, Medicaid, and other health care benefit programs, in connection with the

   delivery of and payment for health care benefits, items, and services, by means of false

   and fraudulent pretenses. Specifically, BAKER caused claims for payment to be
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 21 of 25 - Page ID#: 382




   submitted for medically unnecessary urine drug testing referred by The Way Home,

   under cover of blanket orders signed periodically by T.M., and performed at LabTox,

   LLC.

          All in violation of Title 18, United States Code, Section 134 7.

                                           COUNT12
                                       Health Care Fraud
                                       (18 u.s.c. § 1347)

          72.     Paragraphs 1 through 15 of this Superseding Indictment are realleged and

   incorporated by reference as though fully set forth herein.

          73.     Beginning in or around June 2019, the Kentucky Cabinet for Health and

   Family Services, Department ofConununity Based Services (DCBS) made arrangements

   with Blue Waters Assessment & Testing Services ("Blue Waters") to conduct comi-

   ordered urine drug testing. DCBS referred individuals to Blue Waters for testing for non-

   medical reasons. Blue Waters charged DCBS approximately $20 per test and provided

   DCBS workers with online access to test results, which could be used in court

   proceedings.

          74.     Blue Waters needed a toxicology lab to conduct the testing referred to it by

   DCBS. Blue Waters' owner, D.W., met with ERICA BAKER, and explained to

   BAKER the purpose of the court-ordered urine drug testing referred by DCBS. BAKER

   solicited D.W. to refer this urine drug testing to LabTox. BAKER falsely advised D.W.

   that LabTox could bill this urine drug testing to health care benefit programs if it had a

   blanket order for the testing signed by a physician. BAKER represented that neither
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 22 of 25 - Page ID#: 383




   Blue Waters nor the individuals referred by DCBS for testing would be charged by

   LabTox.

          75.    O.J. was a physician practicing in Fayette County, Kentucky. D.W. paid

   O.J. $1,000 per month in exchange for his signature on a blanket order for urine drug

   testing to be performed by LabTox. O.J. did not select the tests to be perfonned. O.J. did

   not have a doctor-patient relationship with any of the individuals referred to Blue Waters

   by DCBS for drug testing. O.J. did not review the results of the tests.

          76.    Urine specimens collected at Blue Waters from individuals referred to it for

   court-ordered drug testing were sent to LabTox for testing. Blue Waters charged DCBS

   approximately $20 per test, and LabTox provided DCBS workers with online access to

   test results, which could be used in court proceedings.

          77.    ERICA BAKER and RONALD COBURN knew that Medicare,

   Medicaid, and other health care benefit programs would not knowingly reimburse for

   court-ordered testing because, among other things, it was not medically necessary.

          78.    At ERICA BAKER'S and RONALD COBURN'S direction, LabTox

   billed Medicare, Medicaid, and other health care benefit programs for the urine drug

   testing conducted on specimens referred by Blue Waters, under cover of a blanket order

   periodically signed by O.J.

          79.   From in or around June 2019, through in or around March 2021, in Fayette

   County in the Eastern District of Kentucky, and elsewhere,
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 23 of 25 - Page ID#: 384




                                      ERICA BAKER and
                                      RONALD COBURN

   lmowingly and willfully executed, and attempted to execute, a scheme and artifice to

   defraud health care benefit programs affecting commerce, as defined by Title 18, United

   States Code, Section 24(b ), that is, Medicare, Medicaid, and other health care benefit

   programs, and to obtain money and property owned by, and under the custody of

   Medicare, Medicaid, and other health care benefit programs, in connection with the

   delivery of and payment for health care benefits, items, and services, by means of false

   and fraudulent pretenses. Specifically, BAKER and COBURN, aided and abetted by

   one another, caused claims for payment to be submitted for medically unnecessary, court-

   ordered urine drug testing referred by Blue Waters, under cover of blanket orders signed

   periodically by O.J., and performed at LabTox, LLC.

           All in violation of Title 18, United States Code, Section 1347.

                               FORFEITURE ALLEGATIONS
                                    18 U.S.C. § 982(a)(7)
                                  18 U.S.C. § 98l(a)(l)(C)
                                     28 U.S.C. § 246l(c)

      1.     Upon conviction of the offenses set forth in this Indictment, the Defendants,

   ERICA BAKER and RONALD COBURN, shall forfeit to the United States pursuant to

   18 U.S.C. § 982(a)(7), 18 U.S.C. § 981(a)(l)(C), and 28 U.S.C. § 2461(c), all property,

   real and personal, that constitutes or is derived, directly or indirectly, from gross proceeds

   of the violations, including but not limited to a sum of money equal to the amount of gross

   proceeds of the offenses.

      2.     The property to be forfeited includes, but is not limited to, the following:
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 24 of 25 - Page ID#: 385




           MONEY JUDGMENT:

      A sum representing the gross proceeds in aggregate obtained by the Defendants as a

      result of the violations alleged in the Indictment.

      3.     If any of the above-described forfeitable property, as a result of any act or

   omission of the Defendants:

             a. cannot be located upon the exercise of due diligence;

             b. has been transferred or sold to, or deposited with, a third party;

             c. has been placed beyond the jurisdiction of the court;

             d. has been substantially diminished in value; or

             e. has been commingled with other property which cannot be divided without

                 difficulty;

   it is the intent of the United States, pursuant to 21 U.S.C. § 853(p), as incorporated by 18

   U.S.C. § 982(b), to seek forfeiture of any other property of the Defendants up to the value

   of the forfeitable property described above.

                                                            A TRUE BILL




   CARLTON S. SHIER, IV
   UNITED STATES ATTORNEY
Case: 5:22-cr-00004-DCR-MAS Doc #: 47 Filed: 02/16/23 Page: 25 of 25 - Page ID#: 386




                                       PENALTIES


   COUNTS 1-12:      Not more than 10 years imprisonment, a fine of not more than
                     $250,000 or the greater of twice the gross gain or twice the gross loss,
                     and supervised release of not more than 3 years.

   PLUS:             Mandatory special assessment of$100 per count.

   PLUS:             Restitution, if applicable.

   PLUS:             Forfeiture as listed.
